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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig “Deepwater   *   MDL NO. 2179
   Horizon” in the Gulf of Mexico, on        *
   April 20, 2010                            *   SECTION: J
                                             *
                                             *
                                             *   HONORABLE CARL J. BARBIER
                                             *
                                             *   MAGISTRATE JUDGE SHUSHAN
                                             *
                                             *

Plaisance, et al., individually              *   NO. 12-CV-968
and on behalf of the putative Medical        *
Benefits Settlement Class,                   *   SECTION: J
                                             *
             Plaintiffs,                     *
                                             *   HONORABLE CARL J. BARBIER
v.                                           *
                                             *   MAGISTRATE JUDGE SHUSHAN
BP Exploration & Production Inc.,            *
et al.,                                      *
                                             *
             Defendants.                     *
                                             *


                        MEMORANDUM IN SUPPORT OF
           JOINT MOTION FOR ENTRY OF QUALIFIED PROTECTIVE ORDER




                                                                        June 13, 2012
                                                     Counsel Listed on Signature Page
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       The Medical Benefits Settlement Class Representatives,1 on behalf of themselves and the

members of the Medical Benefits Settlement Class, by and through Lead Class Counsel and

Medical Benefits Class Counsel, and Defendants BP Exploration & Production Inc. and BP

America Production Company (collectively, “BP”) respectfully submit this Memorandum in

Support of their Joint Motion for Entry of a Qualified Protective Order.

       On May 2, 2012, this Court preliminarily certified the Medical Benefits Settlement Class

for settlement purposes, granted preliminary approval of the Medical Benefits Class Action

Settlement Agreement, as amended (“Medical Settlement Agreement” or “Agreement”), and

preliminarily appointed Garretson Firm Resolution Group, Inc. d/b/a Garretson Resolution

Group as Claims Administrator to implement and administer the Agreement. (Rec. Doc. 6419).

The Claims Administrator’s responsibilities2 in implementing and administering the Medical

Settlement include processing all claims for compensation for Specified Physical Conditions,

determining eligibility for participation in the Periodic Medical Consultation Program,

administering the Back-End Litigation Option process, and implementing a mechanism for the

identification and resolution of liens, claims, or rights of subrogation, indemnity, reimbursement

conditional or other payments, or interests of any type. See Medical Settlement Agreement,

§ XXI.A.8.

       As part of its responsibilities, the Claims Administrator is required to undertake to obtain


1
  Terms with initial capital letters used in this Joint Motion have the meanings ascribed to the
fully capitalized rendering of such terms in the Medical Settlement Agreement, as amended,
unless otherwise defined or set off by quotation marks herein.
2
  As set forth in the Medical Benefits Class Action Settlement Agreement, the Claims
Administrator shall perform lien identification and resolution functions, which includes the
following duties and functions: (1) the authority to act on behalf of the Medical Benefits Class
Action Members; (2) the authority to receive and release identifiable health information; and
(3) the authority to resolve any potential recovery claim associated with the Medical Benefits
Class Action.

                                                2
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a written agreement from the Centers for Medicare & Medicaid Services (CMS), the agency

within the Department of Health and Human Services responsible for the administration of the

Medicare Program and the Medicaid Program, prior to the Effective Date that accomplishes the

following:

       (a) Establishes repayment amounts or lien cap amounts per Specified Physical
       Condition and/or an aggregated repayment amount or lien cap amount for all or
       certain Specified Physical Conditions, for Medical Benefits Settlement Class
       Members who are or were beneficiaries of the Medicare Program, or,
       alternatively, otherwise sets forth a conditional payment resolution process. Such
       amounts or process(es) shall be acknowledged by CMS to be payment in full and
       full and final satisfaction of all of the Medicare Program’s interests with respect
       to recovery of any conditional payments and payments with regard to medical
       items, services, and/or prescription drugs furnished to any Medical Benefits
       Settlement Class Member in connection with Released Claims. With regard to
       the lien cap amount, if applicable, CMS must recognize in writing its agreement
       that the final repayment amount, once determined by the Claims Administrator
       and CMS, shall under no circumstance exceed the lien cap amount;

       (b) establishes reporting processes recognized by CMS as satisfying the reporting
       obligations, if any, of all Released Parties and Medical Benefits Settlement Class
       Members under the MSP Laws; and

       (c) confirms that nothing in this Medical Benefits Settlement creates ongoing
       responsibility by any Released Party, Medical Benefits Class Counsel, or the
       Claims Administrator for providing medical items, services, and/or prescription
       drugs to Medical Benefits Settlement Class Members or other persons under the
       MSP Laws.

Id. at §§ XXIX.A.1(a) - (c).     The Claims Administrator’s success in negotiating such an

agreement is integral to the implementation of the Medical Settlement Agreement, as BP has the

right to terminate the Medical Settlement Agreement if the Claims Administrator cannot secure

the necessary written agreement with CMS. Id. at XXIX.B.

       The Medical Settlement Agreement also requires the Claims Administrator to review and

evaluate claims submitted to it so that upon the Effective Date, the Claims Administrator can

promptly begin distributing settlement benefits to qualifying class members. Id. at § XXI.A.8.g.

Before it is permitted to pay any compensation to a qualifying class member, however, the

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Claims Administrator must identify, negotiate, and satisfy all amount(s) owed to any

Governmental Payer,3 Medicare Part C and/or Part D Program sponsor, and/or Other

Payer/Provider (collectively, “Payers”) by that class member for medical items, services, and/or

prescription drugs paid on his or her behalf. Id. at §§ XXIX.A.3 - XXIX.A.5; see also §

XXIX.E. In addition, if any employer, attorney, insurer and/or any other entity claims any rights

such as liens, assignments, rights of subrogation, encumbrances, garnishments, security interests,

or any other legally perfected right with respect to a class member’s compensation, other than

rights for medical items, services, and/or prescription drugs asserted by Payers, the Claims

Administrator must hold in escrow any compensation owed pending the Claims Administrator’s

determination of the rights to such compensation. Id. at XXIX.N. Accordingly, the Claims

Administrator must proceed promptly with its duties regarding liens and other such interests to

ensure that qualifying class members receive payment as quickly as possible after the Effective

Date.

        In order to fulfill its reporting and lien identification and satisfaction duties, the Claims

Administrator must transmit and obtain certain information, including Protected Health

Information, regarding claimants.4         During its ongoing discussions with the Claims

Administrator regarding the written agreement referenced in Section XXIX.A.1 of the Medical


3
  Governmental Payers means “any federal, state, or other governmental body, agency,
department, plan, program, or entity that administers, funds, pays, contracts for, or provides
medical items, services, and/or prescription drugs….” Medical Settlement Agreement, § II.II.
These include CMS, the Medicare Secondary Payer Department, and the Medicaid programs of
each state and territory and of the District of Columbia (each a “Medicaid Agency”).
4
  Every Medical Benefits Settlement Class Member submitting a Proof of Claim Form or Notice
of Intent to Sue agrees to authorize the Claims Administrator to transmit information to fulfill
reporting requirements to Governmental Payers. Id. at §§ XXI.C.6.iii and XXI.I.11.2. Likewise,
a class member who submits a Proof of Claim Form authorizes the Claims Administrator to
negotiate and satisfy any amount(s) owed to Payers by that individual for medical items,
services, and/or prescription drugs paid on his or her behalf. Id. at §§ XXI.C.6.iv and XXI.C.6.v.

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Settlement Agreement, CMS has indicated to the Claims Administrator that the Court enter an

order specifically authorizing the Claims Administrator to transmit information regarding

claimants to CMS in a single list, in lieu of the Claims Administrator separately transmitting

information and HIPAA authorizations on a claimant-by-claimant basis.                  The Claims

Administrator has also informed the Parties that such an order will be integral to efficiently

identifying and resolving claims by Payers other than CMS. It would also be consistent with the

Claims Administrator’s duties and responsibilities, as set forth under Sections VI-VIII, XXI and

XXIX of the Medical Settlement Agreement, and would increase the Claims Administrator’s

ability to successfully obtain the written agreement with CMS referenced above.

                                         CONCLUSION

       Accordingly, the parties jointly request that this Court enter an order, substantially similar

to the proposed order attached, permitting the Claims Administrator to disclose to and receive

from Payers lists of claimants and Protected Health Information according to the terms of the

Medical Settlement Agreement and authorizes the Claims Administrator, in its performance of

its lien identification and resolution functions, to take such actions on behalf of the Medical

Benefits Settlement Class Members to resolve any potential liens or recovery claims associated

with the respective Payers.




June 13, 2012                                     Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 13th day of June, 2012.

                                        /s/ Don K. Haycraft
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